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                       IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

RE: Lillia Nevader Williams                                                   CASE NO: 4:16-bk-13868 J
                                                                                     Chapter 13


                                   CERTIFICATE OF FINAL PAYMENT



   The Chapter 13 Trustee hereby certifies that the Debtor has completed all payments required under the

terms of the confirmed Chapter 13 plan. The Chapter 13 Trustee will file a Final Report and Account as soon

as practicable after all outstanding disbursements have cleared and/or been cancelled.

       NOTICE TO DEBTORS:

       As part of the requirements for an entry of discharge, each Debtor must complete and file the
       attached Certification Regarding Domestic Support Obligation Pursuant to 11 U.S.C.
       §1328. The Certification must be completed by each Debtor regardless of whether the
       Debtor has a Domestic Support Obligation. Joint Debtors must complete separate forms.

       Upon completion, each Debtor should submit the form to the Debtor's attorney for
       timely electronic filing with the United States Bankruptcy Court. If the Debtor does not have
       an attorney, the form should be submitted directly to the Clerk, United States Bankruptcy
       Court. The address and further information may be obtained at http://www.arb.uscourts.gov.

       FAILURE TO TIMELY FILE THE ATTACHED FORM MAY RESULT IN CLOSURE OF THE
       CASE WITHOUT A DISCHARGE EVEN IF ALL OTHER REQUIREMENTS FOR
       DISCHARGE ARE MET.



Date: 02/16/2022
                                                                        /s/ Jack W Gooding
                                                                        Jack W Gooding,
                                                                   Standing Chapter 13 Trustee
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF ARKANSAS
                                       CENTRAL DIVISION
RE:     LILLIA NEVADER WILLIAMS                                             CASE NO:    4:16-bk-13868 J
        Debtor                                                                     Chapter 13


                            DEBTOR'S CERTIFICATION REGARDING
                 DOMESTIC SUPPORT OBLIGATION PURSUANT TO 11 U.S.C. §1328(a)



  _____    I, LILLIA NEVADER WILLIAMS, do not have a domestic support obligation (i.e., I have not
           been required by a judicial or administrative order, or by statue to pay any domestic support
           obligation as defined in 11 U.S.C. § 101(14A) either before this proceeding was filed or at any
           time after the date of filing).


                                                  -OR-


  _____ I, LILLIA NEVADER WILLIAMS, have a domestic support obligation and have paid all
        amounts due (i.e., I have paid all amounts due under any and all domestic support obligations as
        defined in 11 U.S.C. § 101(14A), required by a judicial or administrative order or by statue,
        including amounts due before, during and after this proceeding was filed.)



                                                  -OR-


  _____    I, LILLIA NEVADER WILLIAMS, have a domestic support obligation, but have NOT paid all
           amounts due (i.e., I have NOT paid all amounts due under any and all domestic support
           obligations as defined in 11 U.S.C. § 101(14A), required by a judicial or administrative order or by
           statue, including amounts due before, during and after this proceeding was filed.)


 I, LILLIA NEVADER WILLIAMS, declare under penalty of perjury that the information provided in this
 Certification is true and correct.



Date:                                   Signature:
                                                                   LILLIA NEVADER WILLIAMS
